  Case 19-32253       Doc 37   Filed 02/20/20 Entered 02/20/20 16:12:42               Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )                BK No.:     19-32253
CARMEN J. GONZALEZ,                           )
                                              )                Chapter: 13
                                              )
                                                               Honorable Timothy Barnes
                                              )
                                              )
               Debtor(s)                      )

              ORDER GRANTING DEBTOR LEAVE TO SELL REAL PROPERTY

        THIS MATTER coming to be heard on the Motion of Debtor, the Court having jurisdiction over
the parties and the subject matter and being duly advised in the premises, and due notice having been
given:

  It is hereby ORDERED THAT:

  1) The Debtor is granted leave to sell the real property located at 1724 E. 54th St., Unit E, Chicago,
IL 60615.

  2) All non-exempt net funds, after all liens on the property are satisfied, shall be paid to the Chapter
13 Trustee to be applied to the Debtor's Chapter 13 plan.

  3) Any additional funds in excess of payment to satisfy the Debtor's Chapter 13 plan shall be
property of the Debtor.


                                                           Enter:


                                                                    Timothy A. Barnes
Dated: February 20, 2020                                            United States Bankruptcy Judge

 Prepared by:
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